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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Magistrate Case No. 22-8078-RM M

   IN RE:

   CRIMINAL COM PLAINT
                                              I

                     ORDER TO UNSEAL CRIMINAL COMPLAINT

            This cause came befo re this Court on the government's Motion to Unseal. The Court being

   fu lly adv ised in the premises, it is hereby

            ORDERED AND ADJUDGED that the government's motion is hereby granted and the

   Clerk of the Court shall unseal the Crirrinal Con,:>laint in this case.

            DONE AND ORDERED at West Palm Beach, Florida, th is              /0      day of March,

   2022.
